                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-0774
                      Lower Tribunal No. 18-CF-019411
                      _____________________________

                             ELWOOD ROBINSON,

                                  Appellant,

                                      v.

                              STATE OF FLORIDA,

                                  Appellee.
                      _____________________________

                 Appeal from the Circuit Court for Lee County.
                           Robert Branning, Judge.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

NARDELLA and MIZE, JJ., and LAMBERT, B.D., Associate Judge, concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Richard J. Sanders, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Marilyn Frances Muir, Chief
Assistant Attorney General, and David Campbell, Assistant Attorney General,
Tampa, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
